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 8                                   UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

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11 UNITED STATES OF AMERICA, ex rel.                      CASE NO. 2:17-cv-01468-MCE-KJN
   Dr. Jeannette Martello,
12                                                        ORDER RE THE UNITED STATES’
                         Plaintiff/Relator,               NOTICE OF ELECTION TO
13                                                        DECLINE INTERVENTION
   vs.
14
   KAMALA HARRIS, LUCINDA EHNES, MICHELLE
15 ROUILLARD, ELAINE PANIEWSKI, GARY
   BALDWIN, EDWARD HEIDIG, DREW BRERETON,
16 ANTHONY MANZANETTI, CAROL VENTURA,
   KRISTIN DOOR, MARTA GREEN, BRENT
17 BARNHART, CHRISTOPHER LEE, SONIA R.
   FERNANDES, JAMES WILLIS, TERESA RODRIGUEZ,
18 DEBRA DENTON, HOLLY PEARSON, MICHAEL
   ROUZER, SANDRA PEREZ, RICK MARTIN, LYNNE
19 RANDOLPH, DENNIS BALMER, DEBBIE
   MCKINNEY, MICHAEL MCCLELLAND, KYLE
20 MUNSON, ANDREW GEORGE, ROBERT MCKIM
   BELL, MAUREEN MCKENNAN, MICHAEL CLEARY,
21 TIM LEBAS, CHARLAINE HAMILTON, BARBARA
   GARRETT, PETER LEE, DESI MALONE, KATIE
22 MARCELLUS, DAVE JONES, TOBY DOUGLAS,
   DAVID MAXWELL-JOLLY, JULI BAKER, DAVID
23 PANUSH, OSCAR HIDALGO, JANETTE CASILLAS,
   PATRICIA POWERS, DIANA S. DOOLEY, KIMBERLY
24 BELSHE, ALEX KEMPER-MCCALL, PERRY
   KUPFERMAN, ALI ZAKERSHAHRAK, MARSHA
25 SEELEY, KIM MORIMOTO, BRUCE HINZE, PAUL
   FEARER, SUSAN KENNEDY, ROBERT ROSS,
26 GENOVEVA ISLAS, MARTY MORGENSTERN, ART
   TORRES, CALIFORNIA HEALTH BENEFIT
27 EXCHANGE, and DOES 1-100, inclusive,

28                       Defendants,
 1          The United States having notified the Court of its decision not to intervene in this action, the

 2 Court hereby orders, as follows:

 3          (1) Relator may maintain the action in the name of the United States; providing, however, that

 4              the action may be dismissed only if the Court and the Attorney General give written consent

 5              to the dismissal and their reasons for consenting,

 6          (2) In the event that should either the relator or the defendant propose that this action be

 7              dismissed, settled, or otherwise discontinued, this Court provide the United States with notice

 8              and an opportunity to be heard before ruling or granting its approval.

 9          (3) All pleadings filed and orders issued by the Court in this action shall be served upon the

10              United States;

11          (4) The United States shall reserve its right to order any deposition transcripts, to intervene in

12              this action, for good cause, at a later date, and to seek the dismissal of the relator’s action or

13              claim; and

14          (5) The United States shall be served with all notices of appeal.

15          The relator’s Complaint, the Notice of Declination, and this Order shall be unsealed. All other

16 papers on file in this action shall remain under seal.

17          IT IS SO ORDERED.

18 Dated: August 10, 2020

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      ORDER RE THE UNITED STATES’ NOTICE OF                 2
      ELECTION TO DECLINE INTERVENTION
